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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                SENIOR JUDGE WILEY Y. DANIEL


  Courtroom Deputy:     Robert R. Keech               Date: December 18, 2018
  Court Reporter:       Julie Thomas


  Civil Action No: 18-cv-02074-WYD-STV                Counsel:

  MASTERPIECE CAKESHOP                                James A. Campbell
  INCORPORATED, a Colorado                            Jacob P. Warner
  corporation; and JACK PHILLIPS,

         Plaintiffs,

  v.

  AUBREY ELENIS, Director of the                      LeeAnn Morrill
  Colorado Civil Rights Division, in her              Grant T. Sullivan
  official and individual capacities; et al.,         Jacquelynn N. Rich Fredericks
                                                      Vincent E. Morscher
         Defendants.


                                      COURTROOM MINUTES


  MOTION HEARING: Defendants’ Rule 12(b)(1) Motion to Dismiss the First Amended
  Verified Complaint (Doc. No. 64), filed November 6, 2018 and Plaintiffs’ Motion for
  Preliminary Injunction (Doc. No. 57), filed October 25, 2018.

  10:03 a.m.     Court in Session.

                 APPEARANCES OF COUNSEL.

                 Court’s opening remarks and summation of the history of the case.

                 Defendants' Rule 12(b)(1) Motion to Dismiss the First Amended Verified
                 Complaint (Doc. No. 64), filed November 6, 2018, is raised for argument.

  10:26 a.m.     Argument by Plaintiffs by Mr. Campbell.


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  10:42 a.m.   Argument by Defendants by Ms. Morrill.

  11:08 a.m.   Argument by Plaintiffs by Mr. Campbell.

  11:12 a.m.   Argument by Defendants by Ms. Morrill.

  11:16 a.m.   Argument by Plaintiffs by Mr. Campbell.

  11:28 a.m.   Argument by Defendants by Ms. Morrill.

  11:34 a.m.   Argument by Plaintiffs by Mr. Campbell.

  11:36 a.m.   Argument by Defendants by Ms. Morrill.

  ORDERED:     Defendants' Rule 12(b)(1) Motion to Dismiss the First Amended Verified
               Complaint (Doc. No. 64), filed November 6, 2018, is TAKEN UNDER
               ADVISEMENT.

               Court indicates a written order shall follow.

  11:42 a.m.   Court in Recess.

  12:05 p.m.   Court in Session.

               Plaintiffs' Motion for Preliminary Injunction (Doc. No. 57), filed October 25, 2018,
               is raised for argument.

  12:06 p.m.   Argument by Plaintiffs by Mr. Campbell.

  12:16 p.m.   Argument by Defendants by Mr. Sullivan.

  ORDERED:     Plaintiffs' Motion for Preliminary Injunction (Doc. No. 57), filed October 25, 2018,
               is DENIED WITHOUT PREJUDICE.

  ORDERED:     Counsel shall meet and confer and file a joint status report, that indicates to the
               Court whether or not the February 4, 2019 hearing before the administrative law
               judge has been converted from a merits hearing to a commencement or
               scheduling hearing, not later than Friday, December 28, 2018.

  12:29 p.m.   Offer of proof by Defendants by Ms. Morrill.

  12:31 p.m.   Plaintiffs objection to offer of proof by Defendants.



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  ORDERED:     Counsel shall propose in writing dates for the filing of an amended motion for
               preliminary injunction, response to the amended motion for preliminary injunction,
               reply to the motion for preliminary injunction, dates for a possible evidentiary
               hearing on the motion for preliminary injunction, and time necessary for the
               hearing, not later than Friday, January 11, 2019.

  ORDERED:     Magistrate Judge Scott T. Varholak shall set a scheduling conference as soon as
               the Court enters an order that rules on the Defendants’ Motion to Dismiss and
               also vacates the current Order that stayed discovery.

  12:39 p.m.   Court in Recess. HEARING CONCLUDED.

  TOTAL TIME: 2:13




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